                                                               IN THE UNITED STATES BANKRUPTCY COURT
                                                              NORTHERN DISTRICT OF ALABAMA

 l-'ill in this infomialion lo idcntifv vour case:
 Debtor I                     Meisha Lynn Reed                                                                    Check if this is an amended plan Q
                              Name: First           Middle                   Last                                 Amends plan dated: ^
 Debtor 2                                                                                                                  Part(s) amended:
(Spouse, iffiling)            Name: First           Middle                   Last
                                                                                                                           □ Parti              □ Parts
                                                                                                                           □ Part2              □ Part 6
Case number:                                                                                                               □ Parts              □ Parts
(If known)                                                                                                                 □ Part 4             □ Part9

                                                                                                                  Failure to check a box identifying a Part
                                                                                                                  amended hereby may render that amendment
                                                                                                                  ineffective.


Chapter 13 Plan


             I Notices

To Debtor(s):              This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                           indicate that the option is appropriate in your circumstances. Plans that do not comply with local rules, administrative
                           orders, and judicial rulings may not be confirmable.

                           In the following notice to creditors, you must check each box that applies. Your failure to check a box that applies renders
                           that provision ineffective.

To Creditors:              Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                           You should read this plan carefully and discuss it with your attorney, if you have one in this bankruptcy case. If you do not have
                           an attorney, you may wish to consult one.

                           If you oppose the plan's treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                           confirmation at least 7 days before the confirmation hearing, unless otherwise ordered. The Bankruptcy Court may confirm this
                           plan without further notice if no objection to confirmation is made. See Bankruptcy Rule 3015. In addition, a proper proof of
                           claim must be filed in order to be paid under this plan.

                           The following matters may be of particular importance to you. Debtor(s) must check each box that applies. Debtor(s)' failure to
                           check a box that applies renders that provision ineffective.


                           O The plan seeks to limit the amount of a secured claim, as set out in Part 3, § 3.2, which may result in a partial payment
                           or no payment at all to the secured creditor.

                           Q The plan requests the avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest as set out in
                           Part 3, § 3.4.

                           n The plan sets out nonstandard provision(s) in Part 9.
             I Plan Payments and Length of Plan
2.1          Debtor(s) will make regular payments to the trustee as follows:

             $263 per Week for ^ months

             Debtor(s) shall commence payments within thirty (30) days of the petition date.

2.2          Regular payments to the trustee will be made from future income in the following manner {check all that apply):

              12          Debtor(s) will make payments pursuant to a payroll deduction.           Debtor(s) request a payroll deduction be issued to Coca Cola
                                                                                                  Bottling
              []]         Debtor(s) will make payments directly to the trustee.
              □           Other (specify method of payment)

                                                                                    Chapter 13 Plan                                                Page I
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